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                  EXHIBIT 5

     PUBLIC REDACTED VERSION
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                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                    UNITED STATES DISTRICT COURT
2                  NORTHERN DISTRICT OF CALIFORNIA
3
4     ANIBAL RODRIGUEZ, JULIEANNA                        )
5     MUNIZ, ELIZA CAMBAY, SAL                           ) Case No.:
      CATALDO, EMIR GOENAGA, JULIAN                      ) 3:20-cv-04688
6     SANTIAGO, HAROLD NYANJOM, KELLIE                   )
7     NYANJOM, and SUSAN LYNN HARVEY,                    )
8     individually and on behalf of all                  )
9     others similarly situated,                         )
10                        Plaintiffs,                    )
             vs.                                         )
11    GOOGLE LLC,                                        )
12                        Defendant.                     )
      -----------------------------------)
13        ***HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY***
14
15                       REMOTE PROCEEDINGS OF THE
16                  VIDEOTAPED DEPOSITION OF STEVE GANEM
17                        FRIDAY, OCTOBER 28, 2022
18
19
20    REPORTED BY NANCY J. MARTIN
21    CSR. NO. 9504, RMR, RPR
22    CLAUDIA R. GARCIA, CSR. 12812
23    JOB No. 5554575
24
25    PAGES 1-325

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 1   I        A.   I can answer in the context of Google
 2       Analytics.
 3            Q.   Yeah.   Please, for Google Analytics.
 4            A.   In the context of Google AnalY.tics, when
 5       events from a third-party SDK are transmitted to our
 6       servers, if that IDFA is not mappable, if it even is
 7       present subject to all the settings I mentioned, if
 8       that's not mappable to any GAIA, and since the
 9       settings you're referring to are GAIA-related account
10       settings, there's no way to look up the sWAA settings,
11       and there's no attempt to infer that in Google
12       Analytics.
13            Q.   So where on iOS -- after iOS 14 was released,
14       there is no way to do that look up, what does Google
15       Analytics for Firebase do with regard to data coming
16       in for the             ?    Does it get associated with the
17       GAIA side or the non GAIA side?             Like what happened
18       after iOS 14, I guess, is my question?
19            A.   Data corresponding to user interactions in
20       the app are transmitted and associated with
21
22       as they've always been.
23                 What's different is that since there is
24       practically no way to look up the corresponding GAIA
25       and/or to check its sWAA settings, there's no writing

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